Case 3:18-cv-02393-BTM-AHG Document 36 Filed 07/12/21 PageID.412 Page 1 of 3




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12   Attorneys for Plaintiff
     DANIEL DREIFORT
13
14
15                         UNITED STATES DISTRICT COURT

16                      SOUTHERN DISTRICT OF CALIFORNIA

17   DANIEL DREIFORT, individually and             Case No. 3:18-CV-02393-BTM-AHG
18   on behalf of others similarly situated,

19                      Plaintiff,                 JOINT MOTION TO DISMISS
                  v.                               ACTION PURSUANT TO FED. R.
20                                                 CIV. P. 41(a)(1)(A)(ii)
21   DJO GLOBAL, INC.; DJO, LLC; AND
     DOES 1-20,
22                      Defendants.
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25
26         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
27   Plaintiff Daniel Dreifort and Defendants DJO Global, Inc. and DJO, LLC, through
28   their respective counsel, jointly move to dismiss the above-entitled action in its
                                               1
                                 JOINT MOTION TO DISMISS ACTION
Case 3:18-cv-02393-BTM-AHG Document 36 Filed 07/12/21 PageID.413 Page 2 of 3




 1   entirety, with prejudice as to Plaintiff’s individual claims and without prejudice as to
 2   the claims of the putative class members. Each party shall bear his/its own attorneys’
 3   fees and costs.
 4
 5   Dated: July 12, 2021                           KAZEROUNI LAW GROUP, APC
 6                                            By s/ Jason A. Ibey
 7                                               JASON A. IBEY

 8                                                  Attorneys for Plaintiff
 9                                                  DANIEL DREIFORT

10
11   Dated: July 12, 2021                           DLA PIPER LLP
12                                           By s/ Christopher M. Young
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20                                                  Attorneys for Defendants
21                                                  DJO GLOBAL, INC. & DJO, LLC

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                                 JOINT MOTION TO DISMISS ACTION
Case 3:18-cv-02393-BTM-AHG Document 36 Filed 07/12/21 PageID.414 Page 3 of 3




 1
 2                            SIGNATURE CERTIFICATION
 3         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
 4   Policies and Procedures Manual, I hereby certify that the content of this document is
 5   acceptable to counsel for the Defendants, and that I have obtained Mr. Young’s
 6   authorization to affix his electronic signature to this document.
 7
 8   Dated: July 12, 2021                           KAZEROUNI LAW GROUP, APC
 9                                            By s/ Jason A. Ibey
10                                               JASON A. IBEY

11                                                  Attorneys for Plaintiff
12                                                  DANIEL DREIFORT

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                                 JOINT MOTION TO DISMISS ACTION
